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 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
                                                  CASE NO. 1:15-CR-00092-LJO-SKO
11   UNITED STATES OF AMERICA,
                                                  PRELIMINARY ORDER OF FORFEITURE
12                                  Plaintiff,

13                           v.

14   JESUS CUEVAS LOPEZ,

15                                  Defendant.

16

17         Based on the plea agreement entered between Plaintiff United States of America

18 and defendant Jesus Cuevas Lopez, it is hereby ORDERED, ADJUDGED, AND

19 DECREED as follows:

20         1. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §2461(c), defendant Jesus Cuevas

21 Lopez’ interest in the following property shall be condemned and forfeited to the United

22 States, to be disposed of according to law:

23         I.     Items seized on March 13, 2015 from 1319 Whitton Avenue in San Jose,

24 California (all numbers are approximate):

25                A.      74,998 counterfeit audio CDs

26                B.      53,780 counterfeit movie DVDs

27                C.      $6,999 in US Currency

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 1               D.      Color copy CD/DVD case inserts

 2               E.      Empty CD/DVD cases

 3               F.      Sylvania DVD Player, S/N: A1406114170005704

 4               G.      LG Cellular Phone, model LGMSSOO, S/N: 404CYAS586824

 5               H.      LG Cellular Phone, model LGMS323, S/N: 410CYYQ092698

 6               I.      Aquos Sharp Cellular Phone, model 306SH, FCC ID: APYHR000204

 7               J.      ZTE Cellular Phone, model N9130, S/N: N9130B01

 8               K.      MetroPCS Cellular Phone, model ZTE Z730, S/N: 18327B42070D25.

 9        II.    Items seized on March 13, 2015 from 1668 McKee Road, Suite7A in San Jose,

10 California (all numbers are approximate):

11               A.      6,274 counterfeit movie DVDs

12               B.      Empty CD jewel cases and DVD cases

13               C.      Color copy CD/DVD case inserts

14               D.      Bulk white paper

15               E.      LG Cellular Phone, model LGMS500, S/N: 405CYTB728737

16               F.      LG Cellular Phone, model LGMS500, S/N: 405CYTB687265

17               G.      LG Cellular Phone, model MS323, IMEI: 014250000925235

18               H.      Konica Minolta Bizhub photocopier, model C200, S/N: 622700919

19               I.      Konica Minolta Bizhub photocopier, model C200, S/N: 62270130

20               J.      Konica Minolta Bizhub photocopier, model C200, S/N:

21 ADENOY0000650

22               K.      7 Disc duplicator tower, Plextor, no S/N

23               L.      12 Disc duplicator tower, S/N: 2136652857

24               M.      12 Disc duplicator tower, Super Rite Master Duplicator, S/N:

25 F07040050090

26               N.      10 Disc duplicator tower, Plextor, no S/N

27               O.      12 Disc duplicator tower, S/N: 522080632

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 1                P.      12 Disc duplicator tower, LG, S/N: 891113822878

 2                Q.      Two (2) 12 Disc duplicator towers, Plextor, no S/N

 3                R.      12 Disc duplicator tower, S/N: 1002003001108

 4                S.      12 Disc duplicator tower, Pioneer drives, marked 2-27-15, no S/N

 5                T.      Five (5) 12 Disc duplicator towers, Pioneer drives, no S/N

 6                U.      12 Disc duplicator tower, S/N: 10020030050

 7                V.      12 Disc duplicator tower, S/N: 10020090036

 8                W.      12 Disc duplicator tower, S/N: 10020090049

 9                X.      HP Pavilion Desktop Computer, model A6530F, S/N: 3CR8231VWO

10                Y.      HP Compaq Desktop Computer, model DC7600, S/N: 2UA5520FFD

11                Z.      Generic Desktop Computer, Black and Yellow, no S/N

12                AA.     Dell Laptop Computer, model D520, service tag DNCYCF-1

13                BB.     Azza Desktop Computer, Black and Orange, no S/N

14                CC.     Western Digital Passport External Hard Drive, S/N: WX21E54MD447

15                DD.     Kingston Data Traveler Thumb Drive, 4GB, model G3

16                EE.     16 Thumb drives

17                FF.     Sonkik Data 4GB thumb drive

18         III. Items seized from CORNELIO ROJAS in Atwater, California on March 16,

19 2015:

20                A.      934 counterfeit audio CDs

21                B.      426 counterfeit movie DVDs

22                C.      LG Cellular Phone, model LG-P659, S/N: 310CYJZ327140

23         IV.    Toyota Camry, CA License 5UED122, VIN: 4T1BE46K37U504969

24         V.     Chevy Van, CA License 6JGH817, VIN: 1GA261DG8A1102507

25         2.     The above-listed assets represent any property real or personal, that

26 constitutes, or is derived from or is traceable to the proceeds obtained directly or indirectly
27 as a result of the commission of a violation of 18 U.S.C. § 371.

28         3.     Pursuant to Rule 32.2(b), the Attorney General (or designee) shall be


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 1 authorized to seize the above-listed property. The aforementioned property shall be seized

 2 and held by the United States Marshals Service in their secure custody and control.

 3         4. a. Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and Local

 4 Rule 171, the United States shall publish notice of the Order of Forfeiture. Notice of this

 5 Order and notice of the Attorney General’s (or designee’s) intent to dispose of the property

 6 in such a manner as the Attorney General may direct shall be posted for at least 30

 7 consecutive days on the official internet government forfeiture site www.forfeiture.gov.

 8 The United States may also, to the extent practicable, provide direct written notice to any

 9 person known to have alleged an interest in the property that is the subject of the Order of

10 Forfeiture as a substitute for published notice as to those persons so notified.

11              b. This notice shall state that any person, other than the defendant, asserting a

12 legal interest in the above-listed property, must file a petition with the Court within sixty

13 (60) days from the first day of publication of the Notice of Forfeiture posted on the official

14 government forfeiture site, or within thirty (30) days from receipt of direct notice,

15 whichever is earlier.

16         5.     If a petition is filed, upon adjudication of all third-party interests, if any, this

17 Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

18 U.S.C. § 2461(c), in which all interests will be addressed.

19
     IT IS SO ORDERED.
20

21     Dated:    April 27, 2016                         /s/ Lawrence J. O’Neill
                                                  UNITED STATES DISTRICT JUDGE
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